                  THE THIRTEENTH COURT OF APPEALS

                                   13-12-00603-CR


               Ricardo Muñoz Sanchez A/K/A Ricardo Alonso Sanchez
                                       v.
                               The State Of Texas


                                  On Appeal from the
                    275th District Court of Hidalgo County, Texas
                           Trial Cause No. CR-003-11-E


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be AFFIRMED. The Court

orders the judgment of the trial court AFFIRMED.

      We further order this decision certified below for observance.

May 14, 2015
